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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

September 2014 Grand Jury

UNITED STATES OF AMERICA, , ED CR No. 1s. TVW?
Plaintiff, INDICTMENT
Vv. [18 U.S.C. § 371: Conspiracy;
18 U.S.C. § 669: Theft in
JOHN S. ROMERO, Connection with Health Care;
aka “John Romero, Sr.,” 18 U.S.C. § 1001(a) (3): False
JOHN J. ROMERO,” Statement; 29 U.S.C. §. 501(c):
aka “John Romero, Jr.,” Embezzlement and Theft of Labor
EVELYN ROMERO, and Union Assets; 29 U.S.C. §§ 504(a),
DANAE ROMERO, (b): Prohibition Against Certain
Persons Holding Office;
Defendants. 18 U.S.C. § 2: Aiding and
Abetting]

 

 

 

 

The Grand Jury charges:
INTRODUCTORY ALLEGATIONS

At all times material to this Indictment:

 

A. The United Industrial and Service Workers of America
1. The United Industrial and Service Workers of America
(“UISWA”), also known as (“aka”) “United Industrial Service Workers

of America Local 101,” was a labor organization engaged in an
industry affecting interstate and foreign commerce within the meaning

of the Labor Management Reporting and Disclosure Act of 1959

 
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Case 5:15-cr-00007-VAP\ Document 1 Filed 01/21/15 Page \2 of 49 Page ID #:26

(“LMRDA”) and as defined in Title 29, United States Code, Sections
402(a)-(c), (i), and (4).

2. Under LMDRA, UISWA was required to file with the United
States Department of Labor (“DOL”) a Labor Organization Annual Report
(“Form LM-3”). The Form LM-3 discloses financial information (such
as assets, liabilities, receipts and disbursements) about labor
organizations that have total annual receipts of $10,000 or more, but
less than $250,000.

3. Beginning no later than in or about January 2005 until in
or about March 2010, defendant JOHN S. ROMERO, also known as (“aka”)
“John Romero, Sr.” (*“J.S. ROMERO”), was.an officer and President of
the UISWA, and defendant JOHN J. ROMERO, aka “John Romero, Jr.”

(“J.d. ROMERO”), was an officer and Secretary/Treasurer of the UISWA.

4. Beginning no later than in or about March 2010 until in or
about June 2014, defendant EVEYLN ROMERO (“E. ROMERO”) was an officer
and President of the UISWA.

5. Beginning no later than in or about April 2010 until in or
about September 2014, defendant E. ROMERO was a signatory on Citibank
checking account number XXXXX0815, one of the UISWA’s principal bank
accounts (the “UISWA Citibank Account”), and had possession of a
debit card that could be used to withdraw funds from the UISWA
Citibank Account. During the time that defendant E. ROMERO was the
President of the UISWA, her responsibilities included, among others,
making withdrawals from the UISWA Citibank Account if those
withdrawals were authorized by the UISWA Board.

6. From at least in or about March 2010 until in or about
September 2014, defendant E. ROMERO was a signatory on Provident Bank
checking account number XXXX0424, one of the UISWA’s principal bank

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accounts (the “UISWA Provident Bank Account”). During the time that
defendant E. ROMERO was the President of the UISWA, her
responsibilities included, among others, making withdrawals from the
UISWA Provident Bank Account if those withdrawals were authorized by
the UISWA Board.

B. . The UISWA Health and Welfare Plan

7. The UISWA participated in a labor-management joint board of
trustees to sponsor a welfare benefit plan to provide health-related
benefits to UISWA members and their beneficiaries (the “UISWA Health
and Welfare Plan”). According to the trust agreement (the “UISWA
Health and Welfare Trust Agreement”), the UISWA Health and Welfare
Plan is covered by the Employee Retirement Income Security Act of
1974 (“ERISA”).

8. Under ERISA, welfare and benefit plans are subject to
filing annual reports (“Form 5500”) with the DOL, which includes a
financial statement.

9. According to the UISWA Health and Welfare Trust Agreement,
the board of trustees was required to prepare, or cause to be
prepared, a Form 5500, including a Financial Statement and Actuarial
Statement, and furnish such documents to the DOL.

10. According to the UISWA Health and Welfare Trust Agreement,
the board of trustees was required to annually engage an independent
qualified public accountant for the purposes of conducting an audit
of the UISWA Health and Welfare Trust Fund.
on The UISWA Health and Welfare Trust Agreement and Trust Fund

11. According to the UISWA Health and Welfare Trust Agreement,
the UISWA Health and Welfare Trust was established solely for the
purpose of providing various health and welfare benefits, including

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Case 5:15-cr-00007-VAP* Document 1 Filed 01/21/15 Pagé4 of 49 Page ID #:28

life insurance, health insurance, accident insurance, hospital
benefits, surgical benefits, medical benefits, dental benefits, and
vision benefits.

12. According to the UISWA Health and Welfare Trust Agreement,
it was prohibited that any funds contributed to the UISWA Health and
Welfare Trust Fund be used for, or diverted to, purposes other than
the exclusive benefit of participants and their beneficiaries.

13. The UISWA Health and Welfare Trust Agreement required that
the board of trustees be comprised of one UISWA-designated trustee
and one employer-designated trustee.

14. Under ERISA Section 404, fiduciaries of benefit plans,
including welfare benefit plans, such as discretionary trustees, are
required to: (1) discharge their duties with respect to a benefit
plan solely in the interest of the participants and beneficiaries,
and for the exclusive purpose of providing benefits to participants
and their beneficiaries; (2) defray reasonable expenses of
administering the benefit plan; and (3) act in accordance with the
documents and instruments governing the benefit plan.

15. Under ERISA Section 406, fiduciaries of benefit plans are
prohibited from: (1) dealing with the assets of the plan in their own
interest or for their own account; (2) acting in any transaction
involving the plan on behalf of a party, or representing a party,
whose interests are adverse to the interests of the plan or the
interests of its participants and beneficiaries; or (3) receiving any
consideration for their own personal account from any party dealing
with such plan in connection with a transaction involving the assets

of the plan.

 
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Case 5:15-cr-00007-VAP, Document 1 Filed 01/21/15 Pageé5 of 49 Page ID #:29

16. Under ERISA, trustees who receive full-time pay from an
employer, association of employers, or an employee organization such
as UISWA, are only entitled to receive reimbursement from a benefit
plan for expenses that are properly and actually incurred.

17. The UISWA Health and Welfare Trust Agreement established a
trust fund (the “UISWA Health and Welfare Trust Fund”) to receive
deposits from, or on behalf of, UISWA Health Plan participants. The
UISWA Health and Welfare Trust was completely funded by health care
contributions made by, or on behalf of, UISWA Health Plan
participants

18. According to the UISWA Health and Welfare Trust Agreement,
the board of trustees had the authority to establish reserve funds
necessary to provide for the payment of expenses or other obligations

of the UISWA Health and Welfare Trust Fund.

 
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Case 5:15-cr-00007-VAP’ Document 1. Filed 01/21/15 Page’6 of 49 Page ID #:30

COUNT ONE
[18 U.S.C. § 371]

19. The Grand Jury hereby realleges and incorporates by
reference paragraphs one through eighteen of this Indictment as
though fully set forth herein.

A. OBJECT OF THE CONSPIRACY

20. Beginning on an unknown date, and continuing to on or about

September 12, 2014, in Riverside, San Bernardino, and Los Angeles

Counties, within the Central District of California, and elsewhere,

defendants JOHN S. ROMERO, also known as (“aka”) “John Romero, Sr.”
(“J.S, ROMERO”), JOHN J. ROMERO, aka “John Romero, Jr.” (“J.d.
ROMERO”), EVELYN ROMERO (*“E. ROMERO”), and DANAE ROMERO (“D.
ROMERO”), and others known and unknown to the Grand Jury, conspired

and agreed with each other to knowingly and intentionally commit
theft or embezzlement in connection with health care, in violation of
Title 18, United States Code, Section 669.
B. MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE
ACCOMPLISHED
21. The object of the conspiracy was carried out, and to be
carried out, in substance, as follows:

a. Defendant J.S. ROMERO acted as President of the UISWA,
and the one UISWA-designated trustee for the UISWA Health and Welfare
Trust.

b. Defendant J.S. ROMERO would appoint P.W., an insurance
broker who did not represent any of the employers whose employees
have collective bargaining agreements with the UISWA, as the one

employer-designated trustee for the UISWA Health and Welfare Trust.

 
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Case 5:15-cr-00007-VAP\, Document 1. Filed 01/21/15 Pageé.7 of 49 Page ID #:31

Cc. Defendant J.S. ROMERO would appoint S.D and K.D. as
the UISWA Health Plan’s third party administrators who had authority
to disburse funds from the UISWA Health and Welfare Trust.

da. Defendant J.S. ROMERO would order S.D. and K.D. to
disburse funds from the UISWA Health and Welfare Trust to, or for the
benefit of, defendant J.S. ROMERO while concealing many of these
disbursements from P.W.

e. Defendant J.J. ROMERO, the Secretary-Treasurer of the
UISWA, would complete paperwork with a payroll processing company
indicating that the UISWA Health and Welfare Trust Account was the
Doing Business As (“DBA”) Name for the legally-named entity known as
the United Service Workers of America (“USWA”), which was a labor
organization that terminated operations effective May 31, 2005, and
for which J.S. ROMERO was President.

£. Defendant J.J. ROMERO, the Secretary-Treasurer of the
UISWA, would establish, through a payroll processing company, an
automatic debit of the UISWA Health and Welfare Trust for bi-weekly
payroll disbursements to individuals named on the USWA’s payroll
account, including himself, defendant J.S. ROMERO, and defendant D.
ROMERO, who were not employees of the UISWA Health Plan, or with
respect to himself and D. ROMERO, were not trustees of the UISWA
Health and Welfare Trust.

g. Defendants J.S. ROMERO, E. ROMERO, and D. ROMERO would
form and manage Interprise Management Properties, LLC (“IMP”), a
Nevada-based limited liability company, and would transfer to IMP
real estate property held by defendants J.S. ROMERO and E. ROMERO,

including a building located in Maywood, California (the “Maywood

 
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Case 5:15-cr-00007-VAP, Document 1 Filed 01/21/15 Pagé:8 of 49 Page ID #:32

Building”), and the building that served as the UISWA’s union
headquarters located in Colton, California (the “Colton Building”).

h. Defendant J.S. ROMERO directed that recurring payments
be made from the UISWA Health and Welfare Trust Fund to IMP as rent
for the Maywood Building, even though the Maywood Building was
actually being used and leased to parties unaffiliated with the UISWA
Health and Welfare Trust, who were using it for purposes unrelated to
the administration and/or operation of the UISWA Health and Welfare
Trust, including a community food bank, and karate instructional
space. Defendants E. ROMERO and D. ROMERO, each acting as Assistant
Managers of IMP, would accept these recurring payments on behalf of
IMP.

1. Defendant J.S. ROMERO directed that recurring payments
be made from the UISWA Health and Welfare Trust Fund to IMP as rent
for the Colton Building, which was the UISWA headquarters, and was
not the location from which the UISWA Health and Welfare Trust was
administered. Defendants E. ROMERO and D. ROMERO, each acting as
Assistant Managers of IMP, would accept these recurring payments on
behalf of IMP.

j. Defendant E. ROMERO, acting as Trustee of the UISWA
Health and Welfare Trust, and signatory to the UISWA Health and
Welfare Trust’s Reserve Fund (“Reserve Fund”), and defendant D.
ROMERO, acting as co-signatory to the Reserve Fund, would write
recurring checks to IMP from the Reserve Fund for rent for the Colton
Building, which was the UISWA union headquarters, and was not the

location from which the UISWA Health Plan was administered.

 
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Case 5:15-cr-00007-VAP Document 1 Filed 01/21/15 Page 9 of 49 Page ID #:33

on OVERT ACTS

22. In furtherance of the conspiracy, and to accomplish the
object of the conspiracy, on or about the following dates, defendants
J.S. ROMERO, J.J. ROMERO, E. ROMERO, and D. ROMERO, together with
others known and unknown to the Grand Jury, committed the following
overt acts, among others, within the Central District of California,
and elsewhere:

Overt Act No. 1: On or about September 1, 2004, defendant
J.S. ROMERO established the UISWA Health and Welfare Trust.

Overt Act No. 2: In or about 2004, defendant J.S. ROMERO
hired G.M. as the third-party administrator of the UISWA Health and
Welfare Trust Fund.

Overt Act No. 3: On or about January 1, 2005, defendant J.Ss.
ROMERO became president of the UISWA and defendant J.J. ROMERO became
secretary-treasurer of the UISWA.

Overt Act No. 4: On February 8, 2005, defendants J.S. ROMERO
and E. ROMERO formed IMP as manager-members of the company.

Overt Act No. 5: Between January 4 and January 6, 2006,
defendant J.J. ROMERO, without being a trustee or having any
discretionary authority over the management or disposition of the
moneys, funds, or assets of the UISWA Health and Welfare Trust Fund,
established a bi-weekly debit from the UISWA Health and Welfare Trust
Fund to make payments to individuals associated with a defunct labor
organization.

Overt Act No. 6: In or about February 2006, defendant J.S.
ROMERO filed a document with the Secretary of the State of Nevada
that listed himself, defendant EH. ROMERO, and defendant D. ROMERO as

manager-members of IMP.

 
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Case 5:15-cr-00007-VAP ‘Document 1 Filed 01/21/15 Page 10 of 49 Page ID #:34

Overt Act No. 7: On February 4, 2006, defendants J.S. ROMERO,
BE. ROMERO, and D. ROMERO established Bank of America account number
XXXXXXXX4873, to receive rental payments disbursed out of the UISWA
Health and Welfare Trust Fund for IMP-controlled properties that were
being used for purposes other than operating and administering the
UISWA Health Plan.

Overt Act No. 8: On or about July 9, 2007, defendant D.
ROMERO, acting as the assistant manager of IMP, signed a lease with
P.W., acting as the employer-designated Trustee for the UISWA Health
and Welfare Trust, to lease an IMP-owned building located in Maywood,
California (the “Maywood Building”), for $2,000 per month.

Overt Act No. 9; On or about July 9, 2007, defendant D.
ROMERO, acting as the assistant manager of IMP, signed a lease with
P.W., acting as a Trustee for the UISWA Health and Welfare Trust, to
lease an IMP-owned building located in Colton, California (the
“Colton Building”), for $3,000 per month.

Overt Act No. 10: On or about January 9, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 11: On or about January 23, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 12: On or about February 8, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management

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of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 13: On or about February 22, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO'’s direction.

Overt Act No. 14: On or about March 7, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management

of the UISWA Health and Welfare Trust, received $900 that was debited

from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.7. ROMERO’s direction.

Overt Act No. 15: On or about March 21, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J, ROMERO’s direction.

Overt Act No. 16: On or about April 9, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 17: On or about April 1, 2008, defendant J.S.

 

ROMERO notified G.M. that he was to be terminated as the third-party
administrator of the UISWA Health and Welfare Trust Fund, and that
National Benefit Services (“NBS”), an entity operated by S.D. and
K.D., was to replace G.M.

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Case 5:15-cr-00007-VAP Document 1 Filed 01/21/15 Page 12 of 49 Page ID #:36

Overt Act No. 18: On or about April 3, 2008, Dale

 

Construction, Inc., a corporation controlled by S.D., established and
registered the fictitious business name “National Benefit Services”
through which S.D. and K.D. administered the UISWA Health and Welfare
Trust Fund, which included opening bank accounts in the name of “Dale
Construction, Inc.” with checks bearing the name “National Benefit

Services”.

Overt Act No. 19: On or about April 14, 2008, S.D. established

 

bank accounts to administer the UISWA Health and Welfare Trust Fund,
which were titled to Dale Construction, Inc. and had checks printed
with the name “National Benefit Services”.

Overt Act No. 20: On or about April 24, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 21: On or about April 30, 2008, defendant J.S.

 

ROMERO directed G.M. to transfer the balance of the UISWA Health and
Welfare Trust to K.D., and to close the existing bank account of the
UISWA Health and Welfare Trust Fund.

Overt Act No. 22: On or about April 30 2008, K.D. deposited a

 

$600,982.07 check he received from G.M. into an NBS bank account
(“NBS's account”) that S.D. and K.D. treated as the UISWA Health and
Welfare Trust Fund.

Overt Act No. 23: On or about May 5, 2008, defendant J.J.

 

ROMERO, without being a Trustee or having any discretionary authority
over the management or disposition of the moneys, funds, or assets of
the UISWA Health and Welfare Trust Fund, transferred the bi-weekly

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Case 5:15-cr-00007-VAP Document 1 Filed 01/21/15 Page 13 of 49 Page ID #:37

debit for the USWA’s payroll, to the UISWA Health and Welfare Trust
Fund account established by S.D. and K.D.

Overt Act No. 24: On or about May 9, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.d. ROMERO’s direction.

Overt Act No. 25: On or about May. 23, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 26: On or about June 2, 2008, defendant J.S.

 

ROMERO directed a $2,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 27: On or about June 2, 2008, defendant J.S.

 

ROMERO directed a $3,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Colton Building.

Overt Act No. 28: On or about June 9, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 29: On or about June 16, 2008, at defendant J.S.

 

ROMERO'’s direction, S.D. disbursed approximately $25,048.55 from the

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Case 5:15-cr-00007-VAP \Document 1 Filed 01/21/15 Page 14 of 49 Page ID #:38

UISWA Health and Welfare Trust to satisfy the remaining balance on

J.J. ROMERO’s car loan.

Overt Act No. 30: On or about June 23, 2008, defendant J.J.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,250 that was
debited from the UISWA Health and Welfare Trust Fund as a salary at
defendant J.J. ROMERO’s direction.

Overt Act No. 31: On or about June 23, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 32: On or about July 1, 2008, defendant J.S.

 

ROMERO directed a $2,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 33: On or about July 1, 2008, defendant J.S.

 

ROMERO directed a $3,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Colton Building.

Overt Act No. 34: On or about July 9, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 35: On or about July 23, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited

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Case 5:15-cr-00007-VAP Document 1 Filed 01/21/15 Page 15 of 49 Page ID #:39

from the UISWA Health and Welfare Trust Fund as a salary at defendant

J.3. ROMERO’s direction.

Overt Act No. 36: On or about July 31, 2008, defendant J.Ss.

 

ROMERO directed a $2,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 37: On or about July 31, 2008, defendant J.Ss.

 

ROMERO directed a $3,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Colton Building.

Overt Act No. 38: On or about August 8, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 39: On or about August 2, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 40: On or about August 25, 2008, at defendant

 

J.S. ROMERO’s direction, and without P.W.’s consent as the employer-
designated trustee to the UISWA Health and Welfare Trust, and in
violation of a U.S. District Court order, K.D. disbursed
approximately $110,000 from the UISWA Health and Welfare Trust to
Satisfy a judgment against defendants J.S. ROMERO and J.J. ROMERO in

a legal matter unrelated to the UISWA Health and Welfare Plan.

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Case 5:15-cr-00007-VAP \Document 1 Filed 01/21/15 Page 16 of 49 Page ID #:40

Overt Act No. 41: On or about September 2, 2008, defendant

 

J.S. ROMERO directed a $2,000 payment from the UISWA Health and
Welfare Trust Fund to IMP, which was managed by defendants J.S.
ROMERO, E. ROMERO, and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 42: On or about September 2, 2008, defendant

 

J.S. ROMERO directed a $3,000 payment from the UISWA Health and
Welfare Trust Fund to IMP, which was managed by defendants J.S.
ROMERO, E. ROMERO, and D. ROMERO, as rent for the Colton Building.

Overt Act No. 43: On or about September 8, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.d. ROMERO’ s direction.

Overt Act No. 44: On or about September 23, 2008, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 45: On or about October 6, 2008, defendant J.S.

 

ROMERO directed a $2,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 46: On or about October 6, 2008, defendant J.S.

 

ROMERO directed a $3,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Colton Building.

Overt Act No. 47: On or about November 3, 2008, defendant J.S.

 

ROMERO directed a $2,000 payment from the UISWA Health and Welfare

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Case 5:15-cr-00007-VAP \Document 1 Filed 01/21/15 Page 17 of 49 Page ID #:41

Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 48: On or about November 3, 2008, defendant J.S.

 

ROMERO directed a $3,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Colton Building.

Overt Act No. 49: On December 2, 2008, defendant J.S. ROMERO

 

directed a $2,000 payment from the UISWA Health and Welfare Trust
Fund to IMP, which was managed by defendants J.S. ROMERO, E. ROMERO,
and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 50: On December 2, 2008, defendant J.S. ROMERO

 

directed a $3,000 payment from the UISWA Health and Welfare Trust
Fund to IMP, which was managed by defendants J.S. ROMERO, E. ROMERO,
and D. ROMERO, as rent for the Colton Building.

Overt Act No. 51: On December 30, 2008, defendant J.S. ROMERO

 

directed a $2,000 payment from the UISWA Health and Welfare Trust
Fund to IMP, which was managed by defendants J.S. ROMERO, E. ROMERO,
and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 52: On December 30, 2008, defendant J.S. ROMERO

 

directed a $3,000 payment from the UISWA Health and Welfare Trust
Fund to IMP, which was managed by defendants J.S. ROMERO, E. ROMERO,
and D. ROMERO, as rent for the Colton Building.

Overt Act No. 53: On January 30, 2009, defendant J.S. ROMERO

 

directed a $2,000 payment from the UISWA Health and Welfare Trust
Fund to IMP, which was managed by defendants J.S. ROMERO, E. ROMERO,
and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 54: On January 30, 2009, defendant J.S. ROMERO

 

directed a $3,000 payment from the UISWA Health and Welfare Trust

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Case 5:15-cr-00007-VAP Document 1 Filed 01/21/15 Page 18 of 49 Page ID #:42

Fund to IMP, which was managed by defendants J.S. ROMERO, E. ROMERO,
and D. ROMERO, as rent for the Colton Building.

Overt Act No. 55: On March 2, 2009, defendant J.S. ROMERO

 

directed a $2,000 payment from the UISWA Health and Welfare Trust
Fund to IMP, which was managed by defendants J.S. ROMERO, E. ROMERO,
and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 56: On March 31, 2009, defendant J.S. ROMERO

 

directed a $2,000 payment from the UISWA Health and Welfare Trust
Fund to IMP, which was managed by defendants J.S. ROMERO, E. ROMERO,
and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 57: On March 31, 2009, defendant J.S. ROMERO

 

directed a $3,000 payment from the UISWA Health and Welfare Trust
Fund to IMP, which was managed by defendants J.S. ROMERO, E. ROMERO,
and D. ROMERO, as rent for the Colton Building.

Overt Act No. 58: On or about April 9, 2009, defendant J.J.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,250 that was
debited from the UISWA Health and Welfare Trust Fund as a salary at
defendant J.J. ROMERO’s direction.

Overt Act No. 59: On or about April 9, 2009, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.d0. ROMERO’s direction.

Overt Act No. 60: On or about April 22, 2009, defendant J.J.

 

ROMERO, despite having no position of employment with the management

of the UISWA Health and Welfare Trust, received $2,250 that was

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Case 5:15-cr-00007-VAP Document 1 Filed 01/21/15 Page 19 of 49 Page ID #:43

debited from the UISWA Health and Welfare Trust Fund as a salary at
defendant J.J. ROMERO’s direction.

Overt Act No. 61: On or about April 22, 2009, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 62: On April 29, 2009, defendant J.S. ROMERO

 

directed a $2,000 payment from the UISWA Health and Welfare Trust
Fund to IMP, which was managed by defendants J.S. ROMERO, E. ROMERO,
and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 63: On April 29, 2009, defendant J.S. ROMERO

 

directed a $3,000 payment from the UISWA Health and Welfare Trust
Fund to IMP, which was managed by defendants J.S. ROMERO, E. ROMERO,
and D. ROMERO, as rent for the Colton Building.

Overt Act No. 64: On or about May 7, 2009, defendant J.J.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,250 that was
debited from the UISWA Health and Welfare Trust Fund as a salary.

Overt Act No. 65: On or about May 7, 2009, defendant D.

 

ROMERO, despite having no position of employment with the management

of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 66: On or about May 22, 2009, defendant J.J.

 

ROMERO, despite having no position of employment with the management

of the UISWA Health and Welfare Trust, received $2,250 that was

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debited from the UISWA Health and Welfare Trust Fund as a salary at
defendant J.J. ROMERO’s direction.

Overt Act No. 67: On or about May 22, 2009, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 68: On May 29, 2009, defendant J.S. ROMERO

 

directed a $2,000 payment from the UISWA Health and Welfare Trust
Fund to IMP, which was managed by defendants J.S. ROMERO, E. ROMERO,
and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 69: On May 29, 2009, defendant J.S. ROMERO

 

directed a $3,000 payment from the UISWA Health and Welfare Trust
Fund to IMP, which was managed by defendants J.S. ROMERO, E. ROMERO,
and D. ROMERO, as rent for the Colton Building.

Overt Act No. 70: On or about June 7, 2009, defendant J.J.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,500 that was
debited from the UISWA Health and Welfare Trust Fund as a salary at
defendant J.J. ROMERO’s direction.

Overt Act No. 71: On or about June 7, 2009, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 72: On or about June 15, 2009, at defendant J.S.

 

ROMERO's direction, and without P.W.’s consent as the employer-
designated trustee to the UISWA Health and Welfare Trust, K.D.

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disbursed $40,000 from the UISWA Health and Welfare Trust Fund to pay
for two criminal defense attorneys that represented defendants J.S.
ROMERO and J.J. ROMERO in a criminal matter unrelated to the UISWA
Health and Welfare Plan.

Overt Act No. 73: On or about June 19, 2009; defendant J.J.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,500 that was
debited from the UISWA Health and Welfare Trust Fund as a salary at
defendant J.J. ROMERO’s direction.

Overt Act No. 74: On or about June 19, 2009, defendant D.

 

ROMERO, despite having no position of employment with the management

of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 75: On June 26, 2009, defendant J.S. ROMERO

 

directed a $2,000 payment from the UISWA Health and Welfare Trust
Fund to IMP, which was managed by defendants J.S. ROMERO, E. ROMERO,
and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 76: On or about June 26, 2009, defendant J.S.

 

ROMERO directed a $3,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Colton Building.

Overt Act No. 77: On or about July 7, 2009, defendant J.J.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,500 that was
debited from the UISWA Health and Welfare Trust Fund as a salary at

defendant J.d. ROMERO’s direction.

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Case 5:15-cr-00007-VAP \Document 1 Filed 01/21/15 Page 22 of 49 Page ID #:46

Overt Act No. 78: On or about July 7, 2009, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 79: On or about July 22, 2009, defendant J.J.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,500 that was
debited from the UISWA Health and Welfare Trust Fund as a salary at
defendant J.J. ROMERO’s direction.

Overt Act No. 80: On or about July 22, 2009, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction,

Overt Act No. 81: On or about July 30, 2009, defendant J.S.

 

ROMERO directed a $2,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 82: On or about July 30, 2009, defendant J.S.

 

ROMERO directed a $3,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Colton Building.

Overt Act No. 83: On or about August 7, 2009, defendant J.J.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,500 that was
debited from the UISWA Health and Welfare Trust Fund as a salary at
defendant J.J. ROMERO’s direction.

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Case 5:15-cr-00007-VAP \Document 1 Filed 01/21/15 Page 23 of 49 Page ID #:47

Overt Act No. 84: On or about August 7, 2009, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO's direction.

Overt Act No. 85: On or about August 7, 2009, defendants J.Ss.

 

ROMERO, J.J. ROMERO, and E. ROMERO, as well as three other members of
the UISWA Executive Board, elected defendant E. ROMERO as president
of the UISWA, defendant D. ROMERO as a trustee of the UISWA, and
Raymond Romero as Secretary/Treasurer of the UISWA.

Overt Act No. 86: On or about August 21, 2009, defendant J.J.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,500 that was
debited from the UISWA Health and Welfare Trust Fund as a salary at
defendant J.J. ROMERO’s direction.

Overt Act No. 87: On or about August 21, 2009, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J0. ROMERO’s direction.

Overt Act No. 88: On or about August 31, 2009, defendant EF.

 

ROMERO directed a $2,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 89: On or about August 31, 2009, defendant E.

 

ROMERO directed a $3,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Colton Building.

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Case 5:15-cr-00007-VAP™ Document 1 Filed 01/21/15 Page 24 of 49 Page ID #:48

Overt Act No. 90: On or about September 9, 2009, defendant

 

J.J. ROMERO, despite having no position of employment with the
management of the UISWA Health and Welfare Trust, received $2,500
that was debited from the UISWA Health and Welfare Trust Fund as a
Salary at defendant J.J. ROMERO’s direction,

Overt Act No. 91: On or about September 24, 2009, defendant

 

J.J. ROMERO, despite having no position of employment with the
management of the UISWA Health and Welfare Trust, received $2,500
that was debited from the UISWA Health and Welfare Trust Fund as a
salary at defendant J.J. ROMERO’s direction.

Overt Act No, 92: On or about September 24, 2009, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 93: On or about September 29, 2009, defendant E.

 

ROMERO directed a $2,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 94: On or about September 29, 2009, defendant E.

 

ROMERO directed a $3,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Colton Building.

Overt Act No. 95: On or about October 8, 2009, defendant J.J.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,500 that was
debited from the UISWA Health and Welfare Trust Fund as a salary at
defendant J.J. ROMERO’s direction.

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Case 5:15-cr-00007-VAP Document 1 Filed 01/21/15 Page 25 of 49 Page ID #:49

Overt Act No. 96: On or about October 8, 2009, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.J. ROMERO’s direction.

Overt Act No. 97: On or about October 15, 2009, defendant E.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $5,000 from the UISWA
Health and Welfare Trust Fund as a salary.

Overt Act No. 98: On or about October 23, 2009, defendant J.d.

 

ROMERO, despite having no position of employment with the management -
of the UISWA Health and Welfare Trust, received $2,500 that was
debited from the UISWA Health and Welfare Trust Fund as a salary at
defendant J.J. ROMERO’s direction.

Overt Act No. 99: On or about October 23, 2009, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.d. ROMERO’s direction.

Overt Act No. 100: On or about October 30, 2009, defendant E.

 

ROMERO directed a $2,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Maywood Building.

Overt Act No. 101: On or about October 30, 2009, defendant E.

 

ROMERO directed a $3,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.

ROMERO, and D. ROMERO, as rent for the Colton Building.

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Case 5:15-cr-00007-VAP \ Document 1 Filed 01/21/15 Page 26 of 49 Page ID #:50

Overt Act No. 102: On or about November 6, 2009, defendant J.J.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,500 that was
debited from the UISWA Health and Welfare Trust Fund as a salary at
defendant J.J. ROMERO’s direction.

Overt Act No. 103: On or about November 6, 2009, defendant D.

 

ROMERO, despite having no position of employment with the management

of the UISWA Health and Welfare Trust, received $900 that was debited
from the UISWA Health and Welfare Trust Fund as a salary at defendant
J.d0. ROMERO’s direction.

Overt Act No. 104: On or about November 16, 2009, defendant E.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $5,000 from the UISWA
Health and Welfare Trust Fund as a salary at defendant J.J. ROMERO’s
direction.

Overt Act No. 105: On or about November 24, 2009, defendant

 

J.J. ROMERO, despite having no position of employment with the
management of the UISWA Health and Welfare Trust, received $2,500
that was debited from the UISWA Health and Welfare Trust Fund as a
salary at defendant J.J. ROMERO’s direction.

Overt Act No. 106: On or about November 30, 2009, defendant E.

 

ROMERO directed a $3,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Colton Building.

Overt Act No. 107: On or about December 7, 2009, defendant J.J.

 

ROMERO, despite having no position of employment with the management

of the UISWA Health and Welfare Trust, received $2,500 that was

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debited from the UISWA Health and Welfare Trust Fund as a salary at

Gefendant J.J. ROMERO’s direction.

Overt Act No. 108: On or about December 14, 2009, defendant E.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $5,000 from the UISWA
Health and Welfare Trust Fund as a salary at defendant J.J. ROMERO’s
direction.

Overt Act No. 109; On or about December 22, 2009, defendant

 

J.J. ROMERO, despite having no position of employment with the
management of the UISWA Health and Welfare Trust, received $2,500
that was debited from the UISWA Health and Welfare Trust Fund as a
salary at defendant J.J. ROMERO’s direction.

Overt Act No. 110: On or about December 29, 2009, defendant E.

 

ROMERO directed a $3,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Colton Building.

Overt Act No. 111: On or about January 8, 2010, defendant J.J.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,500 that was
debited from the UISWA Health and Welfare Trust Fund as a salary at
defendant J.J. ROMERO’s direction.

Overt Act No. 112: On or about January 22, 2010, defendant J.J.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,500 that was
debited from the UISWA Health and Welfare Trust Fund as a salary at
defendant J.J. ROMERO’s direction.

Overt Act No. 113: On or about January 28, 2010, defendant J.S.

 

ROMERO, in a letter written to Provident Bank, removed himself as a

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Signatory on all UISWA bank accounts at Provident Bank and authorized
defendant E. ROMERO to become a signatory on all such UISWA bank
accounts as the newly-elected UISWA president.

Overt Act No. 114: On or about January 29, 2010, defendant E.

 

ROMERO directed a $3,000 payment from the UISWA Health and Welfare
Trust Fund to IMP, which was managed by defendants J.S. ROMERO, E.
ROMERO, and D. ROMERO, as rent for the Colton Building.

Overt Act No. 115: On or about February 5, 2010, defendant J.J.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,500 that was
debited from the UISWA Health and Welfare Trust Fund as a salary at
defendant J.J. ROMERO’s direction.

Overt Act No. 116: On or about February 19, 2010, defendants

 

J.S. ROMERO and J.J. ROMERO, each acting in their respective
capacities as UISWA President and Secretary/Treasurer, knowingly and
willfully failed to disclose on Form LM-3, which covered calendar
year 2009, deposits totaling approximately $102,129 into, and
withdrawals totaling approximately $102,164 from, UISWA’s California
Bank and Trust account XXXXXX4811.

Overt Act No. 117: On or about February 23, 2010, defendant

 

J.J. ROMERO, despite having no position of employment with the
management of the UISWA Health and Welfare Trust, received $2,500
that was debited from the UISWA Health and Welfare Trust Fund as a
salary at defendant J.J. ROMERO’s direction.

Overt Act No. 118: On or about February 26, 2010, defendant E.

 

ROMERO established account XXXXXX0815 at Community Bank in the name

of the UISWA to receive payments from S.D. and K.D. that were

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Case 5:15-cr-00007-VAP «Document 1 Filed 01/21/15 Page 29 0f 49 Page ID #:53

deducted from contributions for benefits under the UISWA Health and

Welfare Plan.

Overt Act No. 119: On or about March 8, 2010, defendant J.J.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,500 that was
debited from the UISWA Health and Welfare Trust Fund as a salary at
defendant J.J. ROMERO’s direction.

Overt Act No. 120: On or about April 12, 2010, defendant E.

 

ROMERO established the UISWA Citibank Account to receive payments
from S.D. and K.D. that were deducted from contributions for benefits
under the UISWA Health and Welfare Plan.

Overt Act No. 121: On or about August 10, 2010, defendant E.

 

ROMERO established account XXXXXX7199 at Compass Bank in the name of
the UISWA to receive payments from S.D. and K.D. that were deducted
from contributions for benefits under the UISWA Health and Welfare
Plan.

Overt Act No. 122: On or about August 31, 2012, defendant E.

 

ROMERO lost a DOL-supervised election to retain her position as the
UISWA’s president, but did not relinquish her position and allow the
UISWA’s president-elect to be installed.

Overt Act No. 123: On or about October 25, 2012, defendant E.

 

ROMERO established account number XXXXXX077 at Citibank as a UISWA
Health and Welfare Trust Fund Reserve Account (“Citibank Reserve

Fund”).

Overt Act No. 124: On or about November 1, 2012, defendant E.

 

ROMERO established account number XXXX935 at Provident Bank as a
UISWA Health and Welfare Trust Fund Reserve Fund (“Provident Reserve

Fund”).

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Case 5:15-cr-00007-VAP Document 1 Filed 01/21/15 Page 30 of 49 Page ID #:54

Overt Act No. 125: On or about November 6, 2012, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$2,500 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendant E. ROMERO from the
Citibank Reserve Fund.

Overt Act No. 126: On or about November 29, 2012, IMP, which

 

was managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO,
received $2,500 from the UISWA Health and Welfare Trust Fund as rent
for the Colton Building, which was paid by defendant E. ROMERO from
the Citibank Reserve Fund.

Overt Act No. 127: On or about December 14, 2012, IMP, which

 

was managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO,
received $2,500 from the UISWA Health and Welfare Trust Fund as rent
for the Colton Building, which was paid by defendant E. ROMERO from

the Citibank Reserve Fund.

Overt Act No. 128: On or about December 27, 2012, IMP, which

 

was managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO,
received $2,500 from the UISWA Health and Welfare Trust Fund as rent
for the Colton Building, which was paid by defendant E. ROMERO from
the Citibank Reserve Fund.

Overt Act No. 129: On or about January 9, 2013, defendant J.S.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $1,000 from the UISWA
Health and Welfare Trust Fund, which was paid by defendant E. ROMERO
from the Citibank Reserve Fund.

Overt Act No. 130: On or about January 9, 2013, defendant J.S.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $1,000 from the UISWA

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Case 5:15-cr-00007-VAP Document 1 Filed 01/21/15 Page310f 49 Page ID #:55

Health and Welfare Trust Fund, which was paid by defendant E. ROMERO
from the Provident Reserve Fund.

Overt Act No. 131: On or about January 31, 2013, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$2,500 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendant E. ROMERO from the
Citibank Reserve Fund.

Overt Act No. 132: On or about February 8, 2013, defendant E.

 

ROMERO instructed Citibank to add defendant D. ROMERO as a second
Signatory to the Citibank Reserve Fund, and defendant D. ROMERO
completed the necessary forms with Citibank to become a signatory to
the Citibank Reserve Fund.

Overt Act No. 133: On or about February 11, 2013, defendant

 

J.S. ROMERO, despite having no position of employment with the
management of the UISWA Health and Welfare Trust, received $1,200
from the UISWA Health and Welfare Trust Fund, which was paid by
defendants E. ROMERO and D. ROMERO from the Citibank Reserve Fund.

Overt Act No. 134: On or about February 11, 2013, defendant E.

 

ROMERO drove UISWA Trustee R.O. to Provident Bank, where R.O. became
the second signatory on the Provident Reserve Fund.

Overt Act No, 135: On or about February 14, 2013, defendant

 

J.S. ROMERO, despite having no position of employment with the
management of the UISWA Health and Welfare Trust, received $300 from
the UISWA Health and Welfare Trust Fund, which was paid by defendant
E. ROMERO and co-signed by R.O.

Overt Act No. 136: On or about February 19, 2013, defendant

 

J.J. ROMERO, despite having no position of employment with the
management of the UISWA Health and Welfare Trust, received $2,000

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Case 5:15-cr-00007-VAP \Document 1 Filed 01/21/15 Page 32 of 49 Page ID #:56

from the UISWA Health and Welfare Trust Fund, which was paid by
defendant E. ROMERO and co-signed by R.O.

Overt Act No. 137: On or about March 1, 2013, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$2,500 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO
from the Citibank Reserve Fund.

Overt Act No. 138: On or about March 1, 2013, defendant J.S.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $200 from the UISWA
Health and Welfare Trust Fund, which was paid by defendant E. ROMERO
and co-signed by R.O.

Overt Act No. 139: On or about March 5, 2013, defendant J.S.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,000 from the UISWA
Health and Welfare Trust Fund, which was paid by defendant E. ROMERO
and co-signed by R.O.

Overt Act No. 140: On or about March 6, 2013, defendant J.J.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $2,000 from the UISWA
Health and Welfare Trust Fund, which was paid by defendant E. ROMERO
and co-signed by R.O.

Overt Act No. 141: On or about March 15, 2013, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$2,500 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO

from the Citibank Reserve Fund.

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Case 5:15-cr-00007-VAP Document 1 Filed 01/21/15 Page 33 of 49 Page ID #:57

Overt Act No. 142: On or about April 9, 2013, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$2,500 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO
from the Citibank Reserve Fund.

Overt Act No. 143: On or about May 1, 2013, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$2,500 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO
from the Citibank Reserve Fund.

Overt Act No. 144: On or about May 12, 2013, instead of using

 

the UISWA’s assets to fund the benefits contribution to the UISWA
Health and Welfare Trust Fund, defendants E. ROMERO and D. ROMERO
paid $1,570.46 from the Citibank Reserve Fund to Benefits
Administration & Insurance Services, LLC, to pay for the health,
dental, and vision insurance premiums for E. ROMERO, D. ROMERO,
R.A.R., and R.R.

Overt Act No. 145: On or about May 29, 2013, defendant E.

 

ROMERO retained H.S.W., and with the co-signature of defendant D.
ROMERO, paid H.S.W. $2,000 from the Provident Reserve Fund for legal
services unrelated to the administration and management of the UISWA
Health and Welfare Trust Fund.

Overt Act No. 146: On or about June 4, 2013, defendants E.

 

ROMERO and D. ROMERO paid H.S.W. $2,000 from the Provident Reserve
Fund for legal services unrelated to the administration and
management of the UISWA Health and Welfare Trust Fund.

Overt Act No. 147: On or about June 5, 2013, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received

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Case 5:15-cr-00007-VAP \Document 1 Filed 01/21/15 Page 34 of 49 Page ID #:58

$2,500 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO
from the Citibank Reserve Fund.

Overt Act No. 148: On or about June 30, 2013, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$2,500 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO
from the Citibank Reserve Fund.

Overt Act No. 149: On or about July 9, 2013, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$6,000 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendant E. ROMERO and co-signed

by R.O.

 

Overt Act No. 150: On or about August 13, 2013, IMP, which was
managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$5,000 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO
from the Citibank Reserve Fund.

Overt Act No. 151: On or about August 15, 2013, instead of

 

using the UISWA’s assets to fund the benefits contribution to the
UISWA Health and Welfare Trust Fund, defendants E. ROMERO and D.
ROMERO paid $1,158.46 from the Citibank Reserve Fund to Benefits
Administration & Insurance Services, LLC, to pay for the health,
dental, and vision insurance premiums for E. ROMERO, D. ROMERO,
R.A.R., and R.R.

Overt Act No. 152: On or about August 23, 2013, defendants E.

 

ROMERO and D. ROMERO paid H.S.W. $2,000 from the Citibank Reserve

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Case 5:15-cr-00007-VAP \Document 1 Filed 01/21/15 Page 35 of 49 Page ID #59

Fund for legal services unrelated to the administration and
management of the UISWA Health and Welfare Trust Fund.

Overt Act No. 153: On or about September 23, 2013, defendants

 

E. ROMERO and D. ROMERO paid H.S.W. $2,000 from the Citibank Reserve
Fund for legal services unrelated to the administration and
management of the UISWA Health and Welfare Trust Fund.

Overt Act No. 154: On or about September 23, 2013, IMP, which

 

was managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO,
received $2,500 from the UISWA Health and Welfare Trust Fund as rent
for the Colton Building, which was paid by defendants E. ROMERO and
D. ROMERO from the Citibank Reserve Fund.

Overt Act No. 155: On or about October 22, 2013, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$2,500 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO
from the Citibank Reserve Fund.

Overt Act No. 156: On or about December 13, 2013, IMP, which

 

was managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO,
received $5,000 from the UISWA Health and Welfare Trust Fund as rent
for the Colton Building, which was paid by defendant E. ROMERO and
co-signed by R.O.

Overt Act No. 157: On or about December 19, 2013, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $1,000 from the UISWA
Health and Welfare Trust Fund, which was paid by defendant E. ROMERO
and co-signed by R.O..

Overt Act No. 158: On or about December 20, 2013, IMP, which

 

was managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO,

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Case 5:15-cr-00007-VAP™.Document 1 Filed 01/21/15 Page 36 of 49 Page ID #:60

received $2,500 from the UISWA Health and Welfare Trust Fund as rent
for the Colton Building, which was paid by defendant E. ROMERO and

co-signed by R.O.

Overt Act No. 159: On or about December 27, 2013, IMP, which

 

was managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO,
received $2,500 from the UISWA Health and Welfare Trust Fund as rent
for the Colton Building, which was paid by defendant E. ROMERO and
co-signed by R.O.

Overt Act No. 160: On or about January 8, 2014, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$2,500 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendant E. ROMERO and co-signed

by R.O.

Overt Act No. 161: On or about January 18, 2014, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $700 from the UISWA
Health and Welfare Trust Fund, which was paid by defendant E. ROMERO
and co-signed by R.O.

Overt Act No. 162: On or about January 23, 2014, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$2,500 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendant E. ROMERO and co-signed

by R.O.

Overt Act No. 163: On or about January 31, 2014, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$2,500 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendant E. ROMERO and co-signed
by R.O.

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Overt Act No. 164: On or about February 6, 2014, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$2,500 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendant E. ROMERO and co-signed

by R.O.

Overt Act No. 165: On or about February 10, 2014, IMP, which

 

was managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO,
received $2,500 from the UISWA Health and Welfare Trust Fund as rent
for the Colton Building, which was paid by defendants E. ROMERO and
D. ROMERO from the Citibank Reserve Fund.

Overt Act No. 166: On or about February 10, 2014, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $1,000 from the UISWA
Health and Welfare Trust Fund, which was paid by defendants E. ROMERO
and D. ROMERO from the Citibank Reserve Fund.

Overt Act No. 167: On or about February 22, 2014, defendants E.

 

ROMERO and D. ROMERO paid $1,000 from the Citibank Reserve Fund to
R.A.R., who had no position of employment with the administration and
management of the UISWA Health and Welfare Trust Fund.

Overt Act No. 168: On or about February 27, 2014, IMP, which

 

was managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO,
received $2,500 from the UISWA Health and Welfare Trust Fund as rent
for the Colton Building, which was paid by defendants E. ROMERO and
D. ROMERO from the Citibank Reserve Fund.

Overt Act No. 169: On or about March 10, 2014, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received

$2,500 from the UISWA Health and Welfare Trust Fund as rent for the

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Colton Building, which was paid by defendants E. ROMERO and D. ROMERO
from the Citibank Reserve Fund.

Overt Act No. 170: On or about March 10, 2014, defendants E.

 

ROMERO and D. ROMERO paid $1,300 from the Citibank Reserve Fund to
R.R., who had no position of employment with the administration and
management of the UISWA Health and Welfare Trust Fund.

Overt Act No. 171: On or about March 10, 2014, defendant D.

 

ROMERO, despite having no position of employment with the management
of the UISWA Health and Welfare Trust, received $1,300 from the UISWA
Health and Welfare Trust Fund, which was paid by defendants E. ROMERO
and D. ROMERO from the Citibank Reserve Fund.

Overt Act No. 172: On or about March 15, 2014, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$2,500 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO
from the Citibank Reserve Fund.

Overt Act No. 173: On or about March 15, 2014, defendants E.

 

ROMERO and D. ROMERO paid $900 from the Citibank Reserve Fund to
R.A.R., who had no position of employment with the administration and
management of the UISWA Health and Welfare Trust Fund.

Overt Act No. 174: On or about April 4, 2014, instead of using

 

the UISWA’s assets to fund the benefits contribution to the UISWA
Health and Welfare Trust Fund, defendants E. ROMERO and D. ROMERO
paid $1,280.36 from the Citibank Reserve Fund to Benefits
Administration & Insurance Services, LLC, to pay for the health,
dental, and vision insurance premiums for E. ROMERO, D. ROMERO,

R.A.R., and R.R.

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Case 5:15-cr-00007-VAP*.Document 1 Filed 01/21/15 Page39 of 49 Page ID #:63

Overt Act No. 175: On or about April 10, 2014, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$30,000 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO

from the Citibank Reserve Fund.

 

Overt Act No. 176: On or about April 11, 2014, defendants E.
ROMERO and D. ROMERO paid $1,300 from the Citibank Reserve Fund to
R.A.R., who had no position of employment with the administration and
management of the UISWA Health and Welfare Trust Fund.

Overt Act No. 177: On or about April 11, 2014, defendants E.

 

ROMERO and D. ROMERO paid $1,300 from the Citibank Reserve Fund to
R.R., who had no position of employment with the administration and
management of the UISWA Health and Welfare Trust Fund,

Overt Act No. 178: On or about May 8, 2014, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$30,000 from the UISWA Health and Welfare Trust Fund as rent for the

Colton Building, which was paid by defendants E. ROMERO and D. ROMERO
from the Citibank Reserve Fund.

Overt Act No. 179: On or about May 9, 2014, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$30,000 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO
from the Citibank Reserve Fund.

Overt Act No. 180: On or about May 10, 2014, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$30,000 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO
from the Citibank Reserve Fund.

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Case 5:15-cr-00007-VAP Document 1 Filed 01/21/15 Page 40 of 49 Page ID #64

Overt Act No. 181: On or about June 3, 2014, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$10,000 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO
from the Citibank Reserve Fund.

Overt Act No. 182: On or about June 16, 2014, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$2,500 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO
from the Citibank Reserve Fund.

Overt Act No. 183: On or about July 15, 2014, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$2,500 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO
from the Citibank Reserve Fund.

Overt Act No. 184: On or about August 12, 2014, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$3,000 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO
from the Citibank Reserve Fund.

Overt Act No. 185: On or about August 12, 2014, IMP, which was

 

managed by defendants J.S. ROMERO, E. ROMERO, and D. ROMERO, received
$3,000 from the UISWA Health and Welfare Trust Fund as rent for the
Colton Building, which was paid by defendants E. ROMERO and D. ROMERO

from the Citibank Reserve Fund.

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Case 5:15-cr-00007-VAP Document 1 Filed 01/21/15 Page 41 of 49 Page ID #:65

COUNTS TWO THROUGH TWENTY-NINE
[18 U.S.C. §§ 669; 2(a)]

23. The Grand Jury hereby realleges and incorporates by
reference paragraphs one through eighteen of this Indictment as
though fully set forth herein.

24. On or about the dates set forth below, in San Bernardino

County, within the Central District of California, and elsewhere,

defendants JOHN S. ROMERO, also known as (“aka”) “John Romero, Sr.”
(“J.S. ROMERO”), JOHN J. ROMERO, aka “John Romero, Jr.” (‘“J.d.
ROMERO”), EVELYN ROMERO (“E. ROMERO”), and DANAE ROMERO (“D.
ROMERO”), each aiding and abetting the other, knowingly, willfully,

and without authority, embezzled, stole, converted to the use of any
person other than the rightful owner, and intentionally misapplied,
the following moneys, funds, property, and assets, with a value in
excess of $100, of the United Industrial and Service Workers of
America Health and Welfare Trust Fund, a health care benefit program,
as defined by Title 18, United States Code, Section 24(b), by

diverting the following amounts to the following payees:

 

 

 

 

 

 

 

Count Date Payee Amount Account
Number
TWO 1/22/2010 J.J. ROMERO $2,500 Bank of
America
XXXXX-X8B625
THREE 2/5/2010 J.J. ROMERO $2,500 Bank of
America
XXXXX-X8625
FOUR 2/23/2010 J.J. ROMERO $2,500 Bank of
America
XXXXX-X8625
FIVE 3/8/2010 J.J. ROMERO $2,500 Bank of
America
XXXXX-XK8B625
SIX 5/12/2013 Benefits $1,570.46 Citibank
Administration XXXXX0077
& Insurance -

 

 

 

 

 

 

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Case 5:15-cr-00007-VAP® Document 1 Filed 01/21/15 Page 42 of 49 Page ID #:66

 

Services, LLC

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SEVEN 5/29/2013 H.S.W. $2,000 Provident
XXX8935
EIGHT 6/4/2013 H.S.W. $2,000 Provident
, XXX8935
NINE 6/5/2013 Interprise $2,500 Citibank
Management XXXXX0077
Properties,
LLC
TEN 6/30/2013 Interprise $2,500 Citibank
Management XXXXX0077
Properties,
LLC
ELEVEN 8/15/2013 Benefits $1,158.46 Citibank
Administration XXXXX0077
& Insurance
Services, LLC
TWELVE 8/23/2013 H.S.W. $2,000 Citibank
XXXXX0077
THIRTEEN 9/23/2013 H.S.W. $2,000 Citibank
XXXXX0077
FOURTEEN 2/10/2014 D. ROMERO $1,000 Citibank
XXXXX0077
FIFTEEN 2/22/2014 R.A.R. $1,000 Citibank
XXXXX0077
SIXTEEN 3/10/2014 R.R. $1,300 Citibank
XXXXXK0077
SEVENTEEN 3/10/2014 D. ROMERO $1,300 Citibank
- XXXXX0077
ELGHTEEN 3/15/2014 R.A.R. $900 Citibank
XXXXX0077
NINETEEN 3/18/2014 D. ROMERO $500 Citibank
XXXKXO0077
TWENTY 3/18/2014 E. ROMERO $1,000 Citibank
XXXXX0077
TWNEY-ONE 3/27/2014 E. ROMERO $1,000 Provident
Bank XXX8935
TWENTY - TWO 4/4/2014 Benefits $1,280.36 Citibank
Administration XXXXX0077
& Insurance
Services, LLC
TWENTY - THREE 4/9/2014 E. ROMERO $1,100 Provident
Bank XXX8935
TWENTY-FOUR 4/10/2014 Interprise $30,000 Citibank
Management XXXXX0077
Properties,
LLC

 

 

 

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Case 5:15-cr-00007-VAP™Document 1 Filed 01/21/15 Page 43 of 49 Page ID #:67
TWENTY-FIVE 4/11/2014 R.R. $1,300 Citibank
XXXXX0077
TWENTY-SIX 4/11/2014 R.A.R. $1,300 Citibank
XXXXX0077
TWENTY -SEVEN 5/8/2014 Interprise $30,000 Citibank
Management XXXXX0077
Properties,
LLC
TWENTY - EIGHT 5/9/2014 Interprise $30,000 Citibank
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TWENTY-NINE 5/10/2014 Interprise $30,000 Citibank
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COUNT THIRTY
[18 U.S.C. §§ 1001(a) (3); 2(a)]

25. The Grand Jury hereby realleges and incorporates by
reference paragraphs one through eighteen of this Indictment as
though fully set forth herein.

26. On or about February 19, 2010, in San Bernardino County,
within the Central District of California, in a matter within the
jurisdiction of the executive branch of the government of the United

States, specifically, the United States Department of Labor,

defendants JOHN S. ROMERO, also known as (“aka”) “John Romero, Sr.”
(“J.S. ROMERO”), and JOHN J. ROMERO, aka “John Romero, dr.” (*J.J.
ROMERO”), each aiding and abetting the other, knowingly and willfully

made and used, and caused to be made and used, a false document and
writing, namely, a Form LM-3 Labor Organization Annual Report (“Form
LM-3”) for the United Industrial Services Workers of America
(“UISWA”) for the year 2009, knowing that the document and writing
contained a materially false, fictitious, and fraudulent statement
and representation, in that defendants J.S. ROMERO and J.J. ROMERO
represented and caused to be represented that Statement A of that
Form LM-3, filed with the Department of Labor, Employment Standards
Administration, Office of Labor-Management Standards, was true,
correct, and complete in reporting the UISWA’s receipts and
Gisbursements for 2009. In truth and in fact, as defendants J.S.
ROMERO and J.J. ROMERO then knew, that Statement A of that Form LM-3
failed to disclose that the UISWA maintained a separate bank account
at California Bank and Trust account number XXXXXX4811 that had

annual deposits of $102,129.40 and annual withdrawals of $102,164.65,

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Case 5:15-cr-00007-VAP* Document 1 Filed 01/21/15 Page45 of 49 Page ID #:69

which were in addition to the receipts and disbursements reported on

Form LM-3.

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COUNTS THIRTY-ONE THROUGH THIRTY-NINE
[29 U.S.C. § 501(c)]

27. The Grand Jury hereby realleges and incorporates by
reference paragraphs one, four, five, and six of this Indictment as
though fully set forth herein.

28. On or about the dates set forth below, in San Bernardino
County, within the Central District of California, and elsewhere,
defendant EVELYN ROMERO, while an officer of the United Industrial
and Service Workers of America (“UISWA”), knowingly and with intent
to defraud, embezzled, stole, and unlawfully and willfully abstracted
and converted to her own use and the use of others, the following
moneys, funds, property, and assets of the UISWA without
authorization from the UISWA Board, by diverting the following

amounts from the following UISWA bank accounts:

 

 

 

Count Date Amount Account Number
THIRTY-ONE 10/25/2011 $186.04 UISWA Citibank
Account Number

XXXXX0815
THIRTY-TWO 1/17/2013 $125 UISWA Provident

Bank Account
Number XXXX0424

 

THIRTY ~- THREE 4/10/2013 $1,000 UISWA Provident
Bank Account
Number XXXX0424

 

THIRTY-FOUR 6/12/2013 $1,000 UISWA Citibank
Account Number
XXXXX0815

 

THIRTY-FIVE 7/19/2013 $500 UISWA Citibank
Account Number
XXXXX0815

 

THIRTY-SIX 1/27/2014 $148.24 UISWA Citibank
Account Number
XXXXXO0815

 

 

THIRTY -SEVEN 1/29/2014 $222.72 UISWA Citibank
Account Number
XXXXX0815

 

 

 

 

 

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Case 5:15-cr-00007-VAP_ Document 1 Filed 01/21/15 Page 47 of 49

Page ID #:71

 

 

THIRTY-EIGHT 3/14/2014 $700 UISWA Provident
Bank Account

Number XXXX0424

THIRTY-NINE 7/23/2014 $400 UISWA Citibank

 

 

 

Account. Number
XXXXX0815

 

 

 

 
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Case 5:15-cr-00007-VAP™ Document 1 Filed 01/21/15 Page48 of 49 Page ID #:72

COUNT FORTY
[29 U.S.C. §§ 504(a), (b)]

29. The Grand Jury hereby realleges and incorporates by
reference paragraphs one and four of this Indictment as though fully
set forth herein.

30. Beginning on or about September 25, 2012, and continuing to
on or about July 23, 2014, in San Bernardino County, within the
Central District of California, and élsewhere, defendant EVELYN
ROMERO (“E. ROMERO”), while an officer of the United Industrial and
Service Workers of America (“UISWA”), knowingly and willfully
permitted a person who had been convicted of a violation of narcotics
laws within the previous 13 years, that is, Raymond Anthony Romero,
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Case 5:15-cr-00007-VAP Document 1 Filed 01/21/15 Page 49 of 49 Page ID #73

to serve as an officer, trustee, employee, and representative in any
capacity of the UISWA, in that defendant E. ROMERO hired, retained,

and employed Raymond Anthony Romero to serve in the UISWA.

A TRUE BILL

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Foréperson

STEPHANIE YONEKURA
Acting United States Attorney

} SL CO YLaL HL he ‘

OBERT E. DUGDALE
Assistant United States Attorney
Chief, Criminal Division

JOSEPH B. WIDMAN
Assistant United States Attorney
Chief, Riverside Branch Office

JAY H. ROBINSON

Assistant United States Attorney
Deputy Chief, Riverside Branch
Office

49

 
